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                                                                                            FILED
                       IN THE UNITED STATES DISTRICT COURT                                  CLERK
                      FOR THE EASTERN DISTRICT OF NEW YORK
                                                                               12:13 pm, Feb 15, 2022
                                                                                  U.S. DISTRICT COURT
  SOCIAL POSITIONING INPUT                                                   EASTERN DISTRICT OF NEW YORK
  SYSTEMS, LLC,                                                                   LONG ISLAND OFFICE
                                                  CASE NO. 2:22-cv-00150-JMA-AYS
                        Plaintiff,
                v.
                                                       JURY TRIAL DEMANDED
  FORWARD THINKING SYSTEMS
                                                              PATENT CASE
  LLC

                        Defendant.

                           JOINT STIPULATION OF DISMISSAL

         Plaintiff Social Positioning Input Systems, LLC, and Defendant Forward Thinking

  Systems, LLC, by their respective undersigned counsel, hereby STIPULATE and AGREE as

  follows:

         1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice

  and all counter-claims asserted by the Defendant in this Action are dismissed without prejudice

  under Fed. R. Civ. P. 41(a)(1)(A)(ii);

         2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

  dismissed hereby;

         This Stipulation and Order shall finally resolve the Action between the parties.




 JOINT STIPULATION OF DISMISSAL                                                              |1
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 Dated: February 14, 2022           Respectfully submitted,

                                    By: /s/Jay Johnson
                                        JAY JOHNSON (pro hac vice pending)
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        KIZZIA JOHNSON, PLLC
                                        1910 Pacific Ave., Suite 13000
                                        Dallas, Texas 75201
                                        (214) 451-0164
                                        Fax: (214) 451-0165
                                        jay@kjpllc.com
                                        bkizzia@kjpllc.com

                                     ATTORNEYS FOR PLAINTIFF
                                     SOCIAL POSITIONING INPUT SYSTEMS, LLC

                                    FISH & RICHARDSON P.C.

                                    By: /s/ Neil J. McNabnay
                                        Neil J. McNabnay
                                        Ricardo J. Bonilla ( pro hac vice to be filed)
                                        Noel Chakkalakal ( pro hac vice to be filed)
                                        1717 Main Street, Suite 5000
                                        Dallas, TX 75201
                                        (214) 747-5070 (Telephone)
                                        mcnabnay@fr.com
                                        rbonilla@fr.com
                                        chakkalakal@fr.com

                                     ATTORNEYS FOR DEFENDANT
                                     FORWARD THINKING SYSTEMS LLC


     Dated: Central Islip, NY
            February 15, 2022

     Case closed.
     SO ORDERED.
     /s/ JMA, USDJ




 JOINT STIPULATION OF DISMISSAL                                                   |2
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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 14, 2022, a true and correct copy of the

 foregoing document was filed with the Clerk of the Court using the Court’s CM/ECF system,

 which will send notification of such filing to all counsel of record.


                                                       /s/Jay Johnson
                                                       JAY JOHNSON (pro hac vice pending)




 JOINT STIPULATION OF DISMISSAL                                                            |3
